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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                           Southern District of Texas
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   04/16
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Gastar Exploration Inc.


                                                 Gastar Exploration, Inc., Gastar Exploration USA, Inc.
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          1331 Lamar Street
                                          Number            Street                                    Number         Street

                                          Suite 650
                                                                                                      P.O. Box
                                          Houston, Texas 77010
                                          City                             State     Zip Code         City                         State      Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          Harris
                                          County                                                      Number         Street




                                                                                                      City                         State      Zip Code




5. Debtor’s website (URL)                 http://www.gastar.com/

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
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Debtor            Gastar Exploration Inc.                                             Case number (if known)
           Name



                                               A. Check One:
7.   Describe debtor’s business
                                               ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                               ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                               ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                               ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                               ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                               ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                               ☒ None of the above

                                               B. Check all that apply:
                                               ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                               ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                  § 80a-3)
                                               ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                               C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                               2111 (Oil and Gas Extraction)

8. Under which chapter of the                  Check One:
   Bankruptcy Code is the
   debtor filing?                              ☐ Chapter 7

                                               ☐ Chapter 9

                                               ☒ Chapter 11. Check all that apply:

                                                                 ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                   insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                                   4/01/19 and every 3 years after that).
                                                                 ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                   debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                   of operations, cash-flow statement, and federal income tax return, or if all of these
                                                                   documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 ☒ A plan is being filed with this petition.

                                                                 ☒ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                   creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                 ☒ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                   Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                   Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                   Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                                 ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                   12b-2.
                                               ☐ Chapter 12

9. Were prior bankruptcy cases          ☒ No
   filed by or against the debtor       ☐ Yes.        District                           When                      Case number
   within the last 8 years?                                                                       MM/DD/YYYY
     If more than 2 cases, attach a                   District                           When                      Case number
     separate list.                                                                               MM/DD/YYYY

10. Are any bankruptcy cases                ☐ No
    pending or being filed by a             ☒ Yes.                                                                 Relationship     Affiliate
                                                      Debtor      See Rider 1
    business partner or an
    affiliate of the debtor?                          District    Southern District of Texas
     List all cases. If more than 1,                                                                               When             10/31/2018
     attach a separate list.                         Case number, if known _______________________                                  MM / DD / YYYY



     Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
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Debtor           Gastar Exploration Inc.                                           Case number (if known)
          Name



11. Why is the case filed in this      Check all that apply:
    district?
                                       ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.
                                       ☐    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have        ☒ No
    possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                 ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                       safety.
                                                       What is the hazard?

                                                 ☐     It needs to be physically secured or protected from the weather.

                                                   ☐   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).
                                                 ☐     Other


                                                 Where is the property?
                                                                                      Number          Street



                                                                                      City                                  State       Zip Code



                                                 Is the property insured?
                                                 ☐ No

                                                 ☐ Yes.     Insurance agency

                                                            Contact name
                                                            Phone




                       Statistical and administrative information

13. Debtor's estimation of            Check one:
    available funds
                                      ☒ Funds will be available for distribution to unsecured creditors.
                                      ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of               ☐     1-49                       ☐     1,000-5,000                        ☐    25,001-50,000
    creditors                         ☐     50-99                      ☐     5,001-10,000                       ☐    50,001-100,000
                                      ☐     100-199                    ☒     10,001-25,000                      ☐    More than 100,000
                                      ☐     200-999



15. Estimated assets                  ☐     $0-$50,000                 ☐     $1,000,001-$10 million              ☐   $500,000,001-$1 billion
                                      ☐     $50,001-$100,000           ☐     $10,000,001-$50 million             ☐   $1,000,000,001-$10 billion
                                      ☐     $100,001-$500,000          ☐     $50,000,001-$100 million            ☐   $10,000,000,001-$50 billion
                                      ☐     $500,001-$1 million        ☒     $100,000,001-$500 million           ☐   More than $50 billion




   Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
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Debtor           Gastar Exploration Inc.                                               Case number (if known)
          Name



16. Estimated liabilities             ☐        $0-$50,000                  ☐    $1,000,001-$10 million                 ☐   $500,000,001-$1 billion
                                      ☐        $50,001-$100,000            ☐    $10,000,001-$50 million                ☐   $1,000,000,001-$10 billion
                                      ☐        $100,001-$500,000           ☐    $50,000,001-$100 million               ☐   $10,000,000,001-$50 billion
                                      ☐        $500,001-$1 million         ☒    $100,000,001-$500 million              ☐   More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of           The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of           petition.
    debtor
                                           I have been authorized to file this petition on behalf of the debtor.
                                           I have examined the information in this petition and have a reasonable belief that the information is true and
                                           correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                           Executed on            10/31/2018
                                                                MM/ DD / YYYY


                                                /s/ Michael A. Gerlich                                             Michael A. Gerlich
                                                Signature of authorized representative of debtor                Printed name

                                                Title    Authorized Signatory




18. Signature of attorney                       /s/ Matthew D. Cavenaugh                                       Date        10/31/2018
                                                Signature of attorney for debtor                                           MM/ DD/YYYY



                                                Matthew D. Cavenaugh
                                                Printed name
                                                Jackson Walker L.L.P.
                                                Firm name
                                                1401 McKinney Street, Suite 1900
                                                Number                 Street
                                                Houston                                                                Texas             77010
                                                City                                                                   State               ZIP Code
                                                (713) 752-4200                                                         mcavenaugh@jw.com
                                                Contact phone                                                             Email address
                                                24062656                                            Texas
                                                Bar number                                          State




   Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 4
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   Official Form 201A (12/15)



                                        IN THE UNITED STATES BANKRUPTCY COURT
                                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                                    HOUSTON DIVISION

                                                                      )
In re:                                                                )       Chapter 11
                                                                      )
GASTAR EXPLORATION INC.,                                              )       Case No. 18-___________(___)
                                                                      )
                               Debtor.                                )
                                                                      )

  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11

         1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file
     number is   001-35211

         2. The following financial data is the latest available information and refers to the debtor’s condition on
     September 30, 2018


          (a)   Total assets                                                    $   341,500,000
          (b)   Total debts (including debts listed in 2.c., below)             $   453,800,000
          (c)   Debt securities held by more than 500 holders
                                                                                                                   Approximate
                                                                                                                   number of
                                                                                                                   holders:
           secured      ☐   unsecured    ☐    subordinated      ☐         $
           secured      ☐   unsecured    ☐    subordinated      ☐         $
           secured      ☐   unsecured    ☐    subordinated      ☐         $
           secured      ☐   unsecured    ☐    subordinated      ☐         $
           secured      ☐   unsecured    ☐    subordinated      ☐         $


          (d)   Number of shares of preferred stock                                                                Series A - 4,045,000
                                                                                                                   Series B - 2,140,000
          (e)   Number of shares of common stock                                                                   218,933,504


          Comments, if any:




          3. Brief description of debtor’s business:
     The Debtors are a pure-play, independent E&P company engaged in the exploration, development, and production of oil and
     condensate, natural gas, and natural gas liquids (“NGLs”). The Debtors’ principal business activities include the identification,
     acquisition, and subsequent exploration and development of oil and natural gas properties with an emphasis on unconventional
     reserves, such as shale resource plays. The Debtors’ principal operations are conducted in the Sooner Trend of the Anadarko
     Basin in Canadian and Kingfisher Counties, Oklahoma, commonly referred to as the “STACK” shale play. Headquartered in
     Houston, Texas, the Debtors employ approximately 40 individuals.


          4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the
     voting securities of debtor:
          Funds affiliated with Ares Management LLC (25.90%)




   Official Form 201A                                   Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                  Case 18-36057 Document 1 Filed in TXSB on 10/31/18 Page 6 of 26



      Fill in this information to identify the case:


 United States Bankruptcy Court for the:
                            Southern District of Texas
                                          (State)                                                    ☐ Check if this is an
 Case number (if known):                                 Chapter   11                                    amended filing


                                                      Rider 1
                       Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the District of Delaware for relief under chapter 11 of title 11 of the United States Code.
The Debtors have moved for joint administration of these cases under the case number assigned to the chapter 11
case of Gastar Exploration Inc.

 •   Gastar Exploration Inc.
 •   Northwest Property Ventures LLC
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                 OMNIBUS RESOLUTIONS OF THE BOARD
         OF DIRECTORS OF GASTAR EXPLORATION INC. AND SOLE
      MEMBER AND MANAGER OF NORTHWEST PROPERTY VENTURES LLC

                                        October 30, 2018

        At a telephonic meeting on October 30, 2018, of the board of directors (the “Authorizing
Body”) of Gastar Exploration Inc. and the sole member/manager of Northwest Property Ventures
LLC (each a “Company” and, collectively, the “Companies”), each of the Companies’
respective Authorizing Body took the following actions and adopted the following resolutions:

Chapter 11 Filing

                WHEREAS each Authorizing Body has reviewed and considered certain
        materials presented by each Company’s management (the “Management”) and financial,
        restructuring, and legal advisors (collectively, the “Advisors”) including, but not limited
        to, materials regarding the liabilities and obligations of each Company, each Company’s
        liquidity, the strategic alternatives available, and the effect of the foregoing on the
        Company’s business, and has had adequate opportunity to consult such persons regarding
        the materials presented, obtain additional information, and to fully consider each of the
        strategic alternatives available to each Company; and

               WHEREAS the Board has had the opportunity to consult with the Management
        and the Advisors of the Company and fully consider each of the strategic alternatives
        available to the Company.

                NOW, THEREFORE, BE IT RESOLVED that, in the judgment of the Board, it is
        desirable and in the best interests of each Company, its creditors, and other parties in
        interest, that each Company shall be, and hereby is, authorized, empowered, and directed
        to file or cause to be filed voluntary petitions for relief (the “Chapter 11 Cases”) under
        the provisions of chapter 11 of title 11 of the United States Code (the “Bankruptcy
        Code”) in the United States Bankruptcy Court for the Southern District of Texas or
        another court of proper jurisdiction (the “Bankruptcy Court”); and

                RESOLVED FURTHER that the Chief Executive Officer, Chief Financial
        Officer, General Counsel, Treasurer, Vice President, Secretary, Chief Operating Officer
        or any other duly appointed officer of the Company (collectively, the “Authorized
        Officers”), acting alone or with one or more other Authorized Officers be, and each of
        them hereby is, authorized, empowered, and directed to execute and file or cause to be
        filed on behalf of the Company all petitions, schedules, lists, and other motions, papers,
        or documents (including the filing of financing statements), and to take any and all action
        that they deem necessary, appropriate, or desirable to obtain such relief, including,
        without limitation, any action necessary, appropriate, or desirable to maintain the
        ordinary course operation of the Company’s business.




KE 57164692
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Cash Collateral & Debtor-in-Possession Financing

              WHEREAS the Company will obtain benefits from the Company’s use of
      collateral, including cash collateral, as that term is defined in section 363 of the
      Bankruptcy Code (the “Cash Collateral”), which is security for certain prepetition
      secured lenders (collectively, the “Secured Lenders”) party to:

                    (a) that certain Third Amended and Restated Credit
                    Agreement, dated March 3, 2017 (as amended, restated,
                    modified, or supplemented from time to time, the “Term
                    Loan Agreement”), by and among Gastar Exploration Inc.,
                    as borrower, Northwest Property Ventures LLC, as the
                    guarantor party thereto, Wilmington Trust, National
                    Association, as administrative agent (the “Term
                    Administrative Agent”), and the other lender and agent
                    parties thereto; and

                    (b) that certain second lien indenture dated March 3, 2017
                    (as amended, restated, modified or supplemented from time
                    to time, the “Indenture”), by and among Gastar
                    Exploration Inc., as borrower, Northwest Property Ventures
                    LLC, as guarantor party thereto, Wilmington Trust,
                    National Association, as trustee and collateral agent, and
                    the other lender and agent parties thereto;


              WHEREAS reference is made to that certain superpriority secured debtor-in-
      possession credit agreement (together with all exhibits, schedules and annexes thereto,
      the “DIP Credit Agreement”) dated as of, or about, the date hereof, by and among Gastar
      Exploration Inc., a Delaware corporation, as borrower (the “Borrower”), Northwest
      Property Ventures LLC, as guarantor (the “Guarantor”), the lenders party thereto
      (collectively, the “DIP Lenders”), and Wilmington Trust, National Association, as
      administrative and collateral agent (the “DIP Agent”);

             WHEREAS the Borrower has requested that the DIP Lenders provide a secured
      superpriority debtor-in-possession financing facility (the “DIP Facility”) to the Debtors;

             WHEREAS the obligation of the DIP Lenders to make the extensions of credit to
      the Borrower is subject to, among other things, each Company entering into the DIP
      Credit Agreement and satisfying certain conditions in the DIP Credit Agreement; and

              WHEREAS each Company will obtain benefits from the DIP Credit Agreement
      and it is advisable and in the best interest of the Company to enter into the DIP Credit
      Agreement and each other Loan Document (as defined in the DIP Credit Agreement) and
      to perform its obligations thereunder, including granting security interests in all or
      substantially all of its assets.
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        NOW, THEREFORE, BE IT RESOLVED FURTHER that the form, terms, and
provisions of the DIP Credit Agreement, and the transactions contemplated by the DIP
Credit Agreement (including, without limitation, the borrowings thereunder), the
transactions contemplated therein and the guaranties, liabilities, obligations, security
interest granted, and notes issued, if any, in connection therewith, be and hereby are
authorized, adopted, and approved;

       RESOLVED FURTHER that each Company’s execution and delivery of, and its
performance of its obligations (including guarantees) in connection with the DIP Credit
Agreement, are hereby, in all respects, authorized and approved;

        RESOLVED FURTHER that the Authorized Officers, acting alone or with one or
more Authorized Officers, be, and hereby are, authorized, empowered and directed in the
name of, and on behalf of, the Company to seek authorization to enter into the DIP Credit
Agreement and to seek approval of the use of cash collateral pursuant to a postpetition
financing order in interim and final form, and any Authorized Officer be, and hereby is,
authorized, empowered, and directed to execute, and deliver any and all agreements,
instruments, or documents, by or on behalf of the Company, necessary to implement the
postpetition financing, including providing for adequate protection to the Secured
Lenders in accordance with section 363 of the Bankruptcy Code, as well as any
additional or further agreements for entry into the DIP Credit Agreement and the use of
cash collateral in connection with the Company’s Chapter 11 Cases, which agreements
may require the Company to grant adequate protection and liens to the Company’s
Secured Lenders and each other agreement, instrument, or document to be executed and
delivered in connection therewith, by or on behalf of the Company pursuant thereto or in
connection therewith, all with such changes therein and additions thereto as any
Authorized Officer approves, such approval to be conclusively evidenced by the taking of
such action or by the execution and delivery thereof;

        RESOLVED FURTHER that any Authorized Officer or other officer of the
Company is hereby authorized, empowered, and directed, in the name of and on behalf of
the Company, to take such actions to execute, deliver, perform, and cause the
performance of, each of the transactions contemplated by the DIP Credit Agreement, the
Loan Documents, and such other agreements, certificates, instruments, receipts, petitions,
motions, or other papers or documents to which the Company is or will be a party, or any
order entered into in connection with the Chapter 11 Cases (collectively with the DIP
Credit Agreement, the “Financing Documents”), incur and pay or cause to be paid all
related fees and expenses, with such changes, additions, and modifications thereto as an
Authorized Officer executing the same shall approve;

        RESOLVED FURTHER that each Company, as a debtor and debtor-in-
possession under the Bankruptcy Code be, and hereby is, authorized, empowered, and
directed to incur any and all obligations and to undertake any and all related transactions
on substantially the same terms as contemplated under the Financing Documents
(collectively, the “Financing Transactions”), including granting liens on its assets to
secure such obligations and the refinancing of the obligations outstanding pursuant to the
Term Loan Agreement;
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             RESOLVED FURTHER that the Authorized Officers be, and they hereby are,
      authorized, empowered, and directed in the name of, and on behalf of, each Company, as
      a debtor and debtor in possession, to take such actions as in its discretion is determined to
      be necessary, desirable, or appropriate to execute, deliver, and file: (a) the Financing
      Documents and such agreements, certificates, instruments, guaranties, notices, and any
      and all other documents, including, without limitation, any amendments, supplements,
      modifications, renewals, replacements, consolidations, substitutions, and extensions of
      any Financing Documents, necessary, desirable, or appropriate to facilitate the Financing
      Transactions; (b) all petitions, schedules, lists, and other motions, papers, or documents,
      which shall in its sole judgment be necessary, proper, or advisable, which determination
      shall be conclusively evidenced by his/her or their execution thereof; (c) such other
      instruments, certificates, notices, assignments, and documents as may be reasonably
      requested by the DIP Agent and other parties in interest; and (d) such forms of deposit
      account control agreements, officer’s certificates, and compliance certificates as may be
      required by the Financing Documents;

               RESOLVED FURTHER that the Authorized Officers be, and they hereby are,
      authorized, empowered, and directed in the name of, and on behalf of, each Company to
      file or to authorize the DIP Agent to file any Uniform Commercial Code (“UCC”)
      financing statements, any other equivalent filings, any intellectual property or real estate
      filings and recordings, and any necessary assignments for security or other documents in
      the name of each Company that either the DIP Agent deems necessary or convenient to
      perfect any lien or security interest granted under the Financing Documents, including
      any such UCC financing statement containing a generic description of collateral, such as
      “all assets,” “all property now or hereafter acquired,” and other similar descriptions of
      like import, and to execute and deliver, and to record or authorize the recording of, such
      mortgages and deeds of trust in respect of real property of each Company and such other
      filings in respect of intellectual and other property of each Company, in each case as the
      DIP Agent may reasonably request to perfect the security interests of the DIP Agent
      under the Financing Documents; and

              RESOLVED FURTHER that each of the Authorized Officers be, and hereby is,
      authorized, empowered, and directed in the name of, and on behalf of, each Company, to
      execute and deliver any amendments, supplements, modifications, renewals,
      replacements, consolidations, substitutions, and extensions of the postpetition financing
      or any of the Financing Documents or to do such other things which shall in their sole
      judgment be necessary, desirable, proper, or advisable to give effect to the foregoing
      resolutions, which determination shall be conclusively evidenced by his/her or their
      execution thereof.

Filing the Chapter 11 Plan

              WHEREAS, the Companies, with the assistance of their advisors, have
      formulated a plan of reorganization under chapter 11 of the Bankruptcy Code (as
      amended or restated from time to time, the “Plan”) and a disclosure statement with all
      related exhibits thereto for soliciting support for the Plan among the constituencies
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       permitted to vote for the Plan under the Bankruptcy Code (as amended or restated from
       time to time, the “Disclosure Statement”);

              WHEREAS, the Authorizing Body has reviewed the Plan and Disclosure
       Statement and have had the opportunity to consult with the Companies’ advisors
       concerning the Plan and Disclosure Statement;

               WHEREAS, in the judgment of the Authorizing Body, it is desirable and in the
       best interest of each Company’s creditors and other stakeholders that the Companies file
       the Plan and Disclosure Statement with the Bankruptcy Court, amend or restate the Plan
       and/or Disclosure Statement from time to time as may be necessary in the reasonable
       judgment of the Authorized Officers, and seek confirmation of the Plan;

               NOW, THEREFORE, BE IT RESOLVED FURTHER that in the judgment of the
       Authorizing Body, it is desirable and in the best interests of each of the Companies, their
       creditors and other stakeholders that the Authorized Officers (as defined below) file or
       cause to be filed the Plan, the Disclosure Statement, and all other papers or documents
       (including any amendments) related thereto, and to take any and all actions, that they
       deem necessary or appropriate to pursue confirmation and consummation of a plan of
       reorganization materially consistent with the Plan;

               RESOLVED FURTHER that the Authorized Officers acting alone or with one or
       more other Authorized Officers be, and they hereby are, authorized, empowered, and
       directed, together with the Companies’ advisors, to file all other documents deemed
       necessary to confirm, a plan of reorganization materially consistent with the Plan,
       including, but not limited to, any amendments to and modifications of the Plan and
       Disclosure Statement; and

              RESOLVED FURTHER that the Authorized Officers of each of the Companies
       acting alone or with one or more other Authorized Officers be, and they hereby are,
       authorized, empowered, and directed to take or cause to be taken any and all such other
       and further action, and to execute, acknowledge, deliver, and file any and all such
       instruments as each, in his or her discretion, may deem necessary or advisable in order to
       consummate the Plan if confirmed by the Bankruptcy Court.

Retention of Professionals

               NOW, THEREFORE, BE IT RESOLVED FURTHER that each of the
       Authorized Officers be, and hereby is, authorized, empowered and directed to employ the
       law firm of Kirkland & Ellis LLP, as each Company’s counsel, to represent and assist
       each Company in carrying out its duties under the Bankruptcy Code and to take any and
       all actions to advance each Company’s rights and remedies, including filing any
       pleadings and conducting any potential restructuring or sale process on behalf of each
       Company; and, in connection therewith, each of the Authorized Officers, with power of
       delegation, is hereby authorized, empowered, and directed to execute appropriate
       retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
       application for authority to retain Kirkland & Ellis LLP in accordance with applicable
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law;

        RESOLVED FURTHER that each of the Authorized Officers be, and hereby is,
authorized, empowered and directed to employ the law firm of Jackson Walker LLP, as
local bankruptcy counsel, to represent and assist each Company in carrying out its duties
under the Bankruptcy Code and to take any and all actions to advance each Company’s
rights and remedies, including filing any pleadings and conducting any potential
restructuring or sale process on behalf of each Company; and, in connection therewith,
each of the Authorized Officers, with power of delegation, is hereby authorized,
empowered, and directed to execute appropriate retention agreements, pay appropriate
retainers, and to cause to be filed an appropriate application for authority to retain
Jackson Walker LLP in accordance with applicable law;

        RESOLVED FURTHER that each of the Authorized Officers be, and hereby is,
authorized, empowered, and directed to employ the firm of Tudor, Pickering, Holt, &
Co., as each Company’s financial advisor; and, in connection therewith, each of the
Authorized Officers, with power of delegation, is hereby authorized, empowered and
directed to execute appropriate retention agreements, pay appropriate retainers, and to
cause to be filed an appropriate application for authority to retain Tudor, Pickering,
Holt, & Co. in accordance with applicable law;

        RESOLVED FURTHER that each of the Authorized Officers be, and hereby is,
authorized, empowered, and directed to employ the firm of Perella Weinberg
Partners LP, as each Company’s financial advisor; and, in connection therewith, each of
the Authorized Officers, with power of delegation, is hereby authorized, empowered and
directed to execute appropriate retention agreements, pay appropriate retainers, and to
cause to be filed an appropriate application for authority to retain Perella Weinberg
Partners LP in accordance with applicable law;

        RESOLVED FURTHER that each of the Authorized Officers be, and hereby is,
authorized, empowered, and directed to employ the firm of Opportune LLP, as each
Company’s restructuring advisor; and, in connection therewith, each of the Authorized
Officers, with power of delegation, is hereby authorized, empowered, and directed to
execute appropriate retention agreements, pay appropriate retainers, and to cause to be
filed an appropriate application for authority to retain Opportune LLP in accordance with
applicable law;

        RESOLVED FURTHER that each of the Authorized Officers be, and hereby is,
authorized, empowered, and directed to employ the firm of BMC Group, Inc., as notice,
claims, solicitation, and administrative agent to represent and assist each Company in
carrying out its duties under the Bankruptcy Code, and to take any and all actions to
advance each Company’s rights and remedies; and, in connection therewith, each of the
Authorized Officers, with power of delegation, is hereby authorized, empowered, and
directed to execute appropriate retention agreements, pay appropriate retainers, and to
cause to be filed an appropriate application for authority to retain BMC Group, Inc., in
accordance with applicable law;
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              RESOLVED FURTHER that each of the Authorized Officers be, and they hereby
      are, authorized, empowered, and directed to employ any other professionals to assist each
      Company in carrying out its duties under the Bankruptcy Code; and in connection
      therewith, each of the Authorized Officers, with power of delegation, are hereby
      authorized, empowered, and directed to execute appropriate retention agreements, pay
      appropriate retainers and fees, and to cause to be filed an appropriate application for
      authority to retain the services of any other professionals as necessary; and

               RESOLVED FURTHER that each of the Authorized Officers be, and they hereby
      are, with power of delegation, authorized, empowered, and directed to execute and file, or
      cause to be filed, all petitions, schedules, motions, lists, applications, pleadings, and other
      papers and, in connection therewith, to employ and retain all assistance by legal counsel,
      accountants, financial advisors, and other professionals and to take and perform any and
      all further acts and deeds that each of the Authorized Officers deem necessary, proper, or
      desirable in connection with the Chapter 11 Cases, with a view to the successful
      prosecution of such cases.

General

              NOW, THEREFORE, BE IT RESOLVED FURTHER that in addition to the
      specific authorizations heretofore conferred upon the Authorized Officers, each of the
      Authorized Officers (and their designees and delegates) be, and they hereby are,
      authorized, empowered, and directed, in the name of and on behalf of each Company, to
      take or cause to be taken any and all such other and further action, and to execute,
      acknowledge, deliver, and file any and all such agreements, certificates, instruments, and
      other documents and to pay all expenses, including but not limited to filing fees, in each
      case as in such officer’s or officers’ judgment, shall be necessary, advisable or desirable
      in order to fully carry out the intent and accomplish the purposes of the resolutions
      adopted herein;

              RESOLVED FURTHER that each Company and the Board have received
      sufficient notice of the actions and transactions relating to the matters contemplated by
      the foregoing resolutions, as may be required by the organizational documents of each
      Company, or hereby waive any right to have received such notice;

              RESOLVED FURTHER that all acts, actions, and transactions relating to the
      matters contemplated by the foregoing resolutions done in the name of and on behalf of
      each Company, which acts would have been approved by the foregoing resolutions
      except that such acts were taken before the adoption of these resolutions, are hereby in all
      respects approved and ratified as the true acts and deeds of each Company with the same
      force and effect as if each such act, transaction, agreement, or certificate has been
      specifically authorized in advance by resolution of the Board;

              RESOLVED FURTHER that each of the Authorized Officers (and their designees
      and delegates) be, and hereby are, authorized, empowered, and directed to take all
      actions, or to not take any action in the name of each Company, with respect to the
      transactions contemplated by these resolutions hereunder, as such Authorized Officer
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shall deem necessary or desirable in such Authorized Officer’s reasonable business
judgment, as may be necessary or convenient to effectuate the purposes of the
transactions contemplated herein; and

        RESOLVED FURTHER that these resolutions may be executed in any number of
counterparts, each of which shall be deemed to be an original, and such counterparts shall
constitute but one and the same resolution.

                                  * * * * *
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                                Case 18-36057 Document 1 Filed in TXSB on 10/31/18 Page 16 of 26
      Fill in this information to identify the case:

      Debtor name  Gastar Exploration, Inc.
      United States Bankruptcy Court for the: Southern    District of   Texas/Houston
                                                                            (State)

      Case number (If known):
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the
    20 Largest Unsecured Claims and Are Not Insiders                                                                                                            12/15
    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


      Name of creditor and complete          Name, telephone number, and email        Nature of the    Indicate if     Amount of unsecured claim
      mailing address, including zip         address of creditor contact              claim (for       claim is        If the claim is fully unsecured, fill in only unsecured
      code                                                                            example, trade   contingent,     claim amount. If claim is partially secured, fill in
                                                                                      debts, bank      unliquidated,   total claim amount and deduction for value of
                                                                                      loans,           or disputed     collateral or setoff to calculate unsecured claim.
                                                                                      professional
                                                                                      services, and
                                                                                                                       Total claim, if    Deduction for       Unsecured
                                                                                                                       partially          value of            claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff
      SCHLUMBERGER TECHNOLOGY              SCHLUMBERGER TECHNOLOGY                    TRADE DEBT
1     CORP                                 CORP                                                                                                             $8,140,000.00
      P O BOX 732149                       P O BOX 732149
      DALLAS, TX 75373-2149                DALLAS, TX 75373-2149
                                           CWalker10@slb.com

      HELMERICH & PAYNE                    HELMERICH & PAYNE                          TRADE DEBT
2     1437 S BOULDER AVE                   1437 S BOULDER AVE                                                                                               $1,980,000.00
      TULSA, OK 74119                      TULSA, OK 74119
                                           shannon.lewis@hpinc.com

      CHISHOLM OIL LLC                     CHISHOLM OIL LLC                           TRADE DEBT
3     12101 N MACARTHUR BLVD               12101 N MACARTHUR BLVD                                                                                           $1,080,000.00
      SUITE A 303                          SUITE A 303
      OKLAHOMA CITY, OK 73162              OKLAHOMA CITY, OK 73162
                                           amy.saker@chisholmog.com

      CHOATE OILFIELD SERVICES             CHOATE OILFIELD SERVICES LLC               TRADE DEBT
4     LLC                                  P O BOX 597                                                                                                      $540,000.00
      P O BOX 597                          HENNESSEY, OK 73742
      HENNESSEY, OK 73742                  russchoate@hotmail.com

      RANGER OILFIELD SERVICES             RANGER OILFIELD SERVICES CORP              TRADE DEBT
5     CORP                                 P O BOX 594                                                                                                      $460,000.00
      P O BOX 594                          HENNESSEY, OK 73742
      HENNESSEY, OK 73742                  kvaverka@rngerosc.com

      QUICK PUMP SERVICE, LLC              QUICK PUMP SERVICE, LLC                    TRADE DEBT
6     7284 S US HWY 81                     7284 S US HWY 81                                                                                                 $430,000.00
      P O BOX 813                          P O BOX 813
      HENNESSEY, OK 73742                  HENNESSEY, OK 73742
                                           qpsannabel@pldi.net
      PACKERS PLUS ENERGY                  PACKERS PLUS ENERGY SERVICES               TRADE DEBT
7     SERVICES                             11415 SPELL ROAD                                                                                                 $420,000.00
      11415 SPELL ROAD                     TOMBALL, TX 77375
      TOMBALL, TX 77375                    Jennifer.Chavez@packersplus.com

      TERRA OILFIELD SERVICES LLC          TERRA OILFIELD SERVICES LLC                TRADE DEBT
8     24900 PITKIN ROAD                    24900 PITKIN ROAD                                                                                                $330,000.00
      SUITE 200                            SUITE 200
      SPRING, TX 77386                     SPRING, TX 77386
                                           McGowin.Patrick@terrofs.com
                                           Brittany.McRae@terraofs.com

    Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                     page 1
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     Debtor        Gastar Exploration, Inc.                                                    Case number (if known)
                  Name




     Name of creditor and complete          Name, telephone number, and       Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code    email address of creditor contact (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                                                              debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                              professional          unliquidated,   total claim amount and deduction for value of
                                                                              services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                              government
                                                                              contracts)
                                                                                                                    Total claim, if    Deduction for       Unsecured
                                                                                                                    partially          value of            claim
                                                                                                                    secured            collateral or
                                                                                                                                       setoff
     ORCO SERVICE LLC                      ORCO SERVICE LLC                   TRADE DEBT
9    P O BOX 691                           P O BOX 691                                                                                                   $300,000.00
     KINGFISHER, OK 73750                  KINGFISHER, OK 73750
                                           aluper@orcoservice.com

   DUSTIN DONLEY CONSTRUCTION              DUSTIN DONLEY             TRADE DEBT
10 SERVICES LLC                            CONSTRUCTION SERVICES LLC                                                                                     $290,000.00
   3030 NW EXPRESSWAY                      3030 NW EXPRESSWAY
   SUITE 500                               SUITE 500
   OKLAHOMA CITY, OK 73112                 OKLAHOMA CITY, OK 73112
                                           dahlyn@pldi.net


   SGB SOLUTIONS, LP                       SGB SOLUTIONS, LP                  TRADE DEBT
11 P O BOX 60931                           P O BOX 60931                                                                                                 $280,000.00
   MIDLAND, TX 79711-0931                  MIDLAND, TX 79711-0931
                                           denisestewart@SGBLP.COM

   TRI POWER ENERGY SERVICES               TRI POWER ENERGY SERVICES TRADE DEBT
12 4341 SW 33RD STREET                     4341 SW 33RD STREET                                                                                           $250,000.00
   OKLAHOMA CITY, OK 73119                 OKLAHOMA CITY, OK 73119
                                           tvoelker@tripoweres.com


   FLOTEK CHEMISTRY LLC                    FLOTEK CHEMISTRY LLC               TRADE DEBT
13 1004 S PLAINSMAN RD                     1004 S PLAINSMAN RD                                                                                           $230,000.00
   MARROW, OK 73055-8600                   MARROW, OK 73055-8600
                                           omontalbo@flotekind.com

   RITE WAY CONSTRUCTION LLC               RITE WAY CONSTRUCTION LLC TRADE DEBT
14 P O BOX 3748                            P O BOX 3748                                                                                                  $210,000.00
   ENID, OK 73702-3748                     ENID, OK 73702-3748
                                           rm.riteway@gmail.com

   TESTCO INC                              TESTCO INC                         TRADE DEBT
15 P O BOX 589                             P O BOX 589                                                                                                   $210,000.00
   HWY 33 W                                HWY 33 W
   WATONGA, OK 73772                       WATONGA, OK 73772
                                           testcoinc@yahoo.com

   RAUH OILFIELD SERVICES CO               RAUH OILFIELD SERVICES CO TRADE DEBT
16 P O BOX 421                             P O BOX 421                                                                                                   $200,000.00
   LAHOMA, OK 73754-0421                   LAHOMA, OK 73754-0421
                                           debbie.ruppenthal@rauhoilfield.com

   NEWSCO INTERNATIONAL                    NEWSCO INTERNATIONAL               TRADE DEBT
17 ENERGY                                  ENERGY                                                                                                        $160,000.00
   900 OLD HIGHWAY 105 WEST                900 OLD HIGHWAY 105 WEST
   CONROE, TX 77304                        CONROE, TX 77304
                                           charissa.watson@newsco-
                                           drilling.com
   REEF SERVICES LLC                       REEF SERVICES LLC                TRADE DEBT
18 P O BOX 11347                           P O BOX 11347                                                                                                 $160,000.00
   MIDLAND, TX 79702                       MIDLAND, TX 79702
                                           cdaniel@selectenergyservices.com

   RUFNEX OILFIELD SERVICES                RUFNEX OILFIELD SERVICES           TRADE DEBT
19 1333 SE 25TH                            1333 SE 25TH                                                                                                  $150,000.00
   OKLAHOMA CITY, OK 73129                 OKLAHOMA CITY, OK 73129
                                           Ljohnson@ProfitStars.com



    Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                    page 2
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Debtor         Gastar Exploration, Inc.                                                      Case number (if known)
               Name

  Name of creditor and complete          Name, telephone number, and       Nature of the claim   Indicate if     Amount of unsecured claim
  mailing address, including zip code    email address of creditor contact (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                                                           debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                           professional          unliquidated,   total claim amount and deduction for value of
                                                                           services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                           government
                                                                           contracts)
                                                                                                                 Total claim, if    Deduction for       Unsecured
                                                                                                                 partially          value of            claim
                                                                                                                 secured            collateral or
                                                                                                                                    setoff
   BOSTICK SERVICES                     BOSTICK SERVICES                   TRADE DEBT
20 CORPORATION                          CORPORATION                                                                                                   $140,000.00
   P O BOX 536                          P O BOX 536
   CRESCENT, OK 73028                   CRESCENT, OK 73028
                                        dtilley@bostickservices.com




 Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                    page 3
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                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION

                                                         )
    In re:                                               )     Chapter 11
                                                         )
    GASTAR EXPLORATION INC.,                             )     Case No. 18-___________(___)
                                                         )
                             Debtor.                     )
                                                         )

                                   LIST OF EQUITY SECURITY HOLDERS1

             Debtor          Equity Holders          Address of Equity           Type of        Percentage
                                                          Holder                  Equity         of Equity
                                                                                 Security          Held
                                                  PO BOX 20
                          CEDE & CO (FAST         BOWLING GREEN               PREFERRED
                                                                                                    100%
                          ACCOUNT)                STATION                      SERIES A
                                                  NEW YORK NY 10004
                                                  PO BOX 20
                          CEDE & CO (FAST         BOWLING GREEN               PREFERRED
                                                                                                    100%
                          ACCOUNT)                STATION                      SERIES B
                                                  NEW YORK NY 10004
                                                  PO BOX 20
                          CEDE & CO (FAST         BOWLING GREEN
                                                                                COMMON             70.58%
                          ACCOUNT)                STATION
                                                  NEW YORK NY 10004
                                                  C/O ARES
                          FUNDS
                                                  MANAGEMENT LLC
                          AFFILIATED WITH
    GASTAR                                        2000 AVENUE OF THE
                          ARES                                                  COMMON             25.90%
    EXPLORATION                                   STARS, 12TH FLOOR
                          MANAGEMENT
    INC.                                          LOS ANGELES,
                          LLC
                                                  CALIFORNIA 90067
                          GASTAR
                          EXPLORATION             1331 LAMAR STREET
                          NEW RESTRICTED          SUITE 1080
                                                                                COMMON             3.05%
                          STOCK PLAN -            HOUSTON, TX 77010-
                          SEE COMPANY             3110
                          26192
                          ALAN KELLER             [REDACTED]                    COMMON            < 1.00%
                          ALAN MOORE              [REDACTED]                    COMMON            < 1.00%
                          ALAN MOORE              [REDACTED]                    COMMON            < 1.00%
                          ALICIA NORTON           [REDACTED]                    COMMON            < 1.00%
                          ALOHA
                          REVOCABLE
                                                  [REDACTED]                    COMMON            < 1.00%
                          LIVING TRUST
                          DATED 3/14/01
                          AMY RICHARD             [REDACTED]                    COMMON            < 1.00%

1
       This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal
       Rules of Bankruptcy Procedure. All equity positions listed are as of the date of commencement of the
       chapter 11 case.
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    Debtor       Equity Holders     Address of Equity   Type of    Percentage
                                         Holder          Equity     of Equity
                                                        Security      Held
               AST EXCHANGE       C/O CORPORATE
               AGENT #25903       ACTIONS
               GASTAR             6201 15TH AVENUE      COMMON      < 1.00%
               EXPLORATION        BROOKLYN, NY 11219-
               LTD                5411
                                  C/O CORPORATE
               AST EXCHANGE       ACTIONS
               AGENT #25908       6201 15TH AVENUE      COMMON      < 1.00%
               COPPERQUEST        BROOKLYN, NY 11219-
                                  5411
                                  C/O CORPORATE
               AST EXCHANGE
                                  ACTIONS
               AGENT #25909
                                  6201 15TH AVENUE      COMMON      < 1.00%
               NEW ENERGY
                                  BROOKLYN, NY 11219-
GASTAR         WEST
                                  5411
EXPLORATION                       C/O CORPORATE
INC.           AST EXCHANGE
                                  ACTIONS
               AGENT #25910
                                  6201 15TH AVENUE      COMMON      < 1.00%
               EAGLE LAKE
                                  BROOKLYN, NY 11219-
               EXPLORATION
                                  5411
                                  C/O CORPORATE
               AST EXCHANGE
                                  ACTIONS
               AGENT #25912
                                  6201 15TH AVENUE      COMMON      < 1.00%
               ALDERSHOT
                                  BROOKLYN, NY 11219-
               RESOURCE
                                  5411
               BEN MANHEIMER
                                  [REDACTED]            COMMON      < 1.00%
               III
               BRET DAVIDSON      [REDACTED]            COMMON      < 1.00%
               BRIAN WARD         [REDACTED]            COMMON      < 1.00%
               CAROLINE
                                  [REDACTED]            COMMON      < 1.00%
               NAMAZI
               CATHERINE
               YVONNE             [REDACTED]            COMMON      < 1.00%
               CARPANINI
               CELAL
                                  [REDACTED]            COMMON      < 1.00%
               BULUTOGLU
               CHRISTINE
               MEYER & MIKE       [REDACTED]            COMMON      < 1.00%
               MEYER
               CLYDA A GRANT
                                  [REDACTED]            COMMON      < 1.00%
               JR
               COLTON
               CHARITABLE
               REMAINDER
               UNITRUST
               HERBERT CORKA      [REDACTED]            COMMON      < 1.00%
               JR TRUSTEE
               GASTAR
               EXPLORATION
               LTD
               DALE R CARROLL     [REDACTED]            COMMON      < 1.00%
               DAN R WILLIAMS     [REDACTED]            COMMON      < 1.00%
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    Debtor       Equity Holders     Address of Equity    Type of   Percentage
                                         Holder          Equity     of Equity
                                                        Security      Held
               DEBRA TAGUBA       [REDACTED]            COMMON      < 1.00%
               DENISE KELLER      [REDACTED]            COMMON      < 1.00%
               DENNIS CUSHING
               & ERIC J           [REDACTED]            COMMON      < 1.00%
               ANDREWS JT TEN
               DENNIS R
                                  [REDACTED]            COMMON      < 1.00%
               UNGURAN
               DEVAN DERBY        [REDACTED]            COMMON      < 1.00%
               DONALD EVANS       [REDACTED]            COMMON      < 1.00%
               DONALD J BUGAY     [REDACTED]            COMMON      < 1.00%
               DR MARTIN
                                  [REDACTED]            COMMON      < 1.00%
               JENNINGS
               EUGENE KIM         [REDACTED]            COMMON      < 1.00%
               FRED MAX
                                  [REDACTED]            COMMON      < 1.00%
               THOMAS TRUST
               GAVIN MOODY        [REDACTED]            COMMON      < 1.00%
               GLORIA K RAE       [REDACTED]            COMMON      < 1.00%
               GLORIA
                                  [REDACTED]            COMMON      < 1.00%
               MARTINEZ
               H DANIEL SMITH     [REDACTED]            COMMON      < 1.00%
               HAROLD MURTHA
               C/O MURTHA
                                  [REDACTED]            COMMON      < 1.00%
               ENTERPRISES
               INC
               HARRISON-
                                  [REDACTED]            COMMON      < 1.00%
               HINSHAW TRUST
               HERBERT GORKA
               JR TRUSTEE
GASTAR         COLTON
EXPLORATION    CHARITABLE         [REDACTED]            COMMON      < 1.00%
INC.           REMAINDER
               UNITRUST 12 22
               1992
               HOMER
               WESSENDORF         [REDACTED]            COMMON      < 1.00%
               TRUST
               HUNTER AHRENS      [REDACTED]            COMMON      < 1.00%
               HUNTINGTON A
                                  [REDACTED]            COMMON      < 1.00%
               JAMES
               IRAD RON           [REDACTED]            COMMON      < 1.00%
               IRIS L OLEKSHY     [REDACTED]            COMMON      < 1.00%
               JACK MOBERS        [REDACTED]            COMMON      < 1.00%
               JAMES H GIBERT
                                  [REDACTED]            COMMON      < 1.00%
               JR
               JAWSH
               CORPORATION
                                  [REDACTED]            COMMON      < 1.00%
               C/O WILLIAM L
               BATES
               JAY MANHEIMER      [REDACTED]            COMMON      < 1.00%
               JENNY HAFFEY       [REDACTED]            COMMON      < 1.00%
               JOHN A MOSES       [REDACTED]            COMMON      < 1.00%
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    Debtor       Equity Holders     Address of Equity   Type of    Percentage
                                         Holder          Equity     of Equity
                                                        Security      Held
               JOHN C
                                  [REDACTED]            COMMON      < 1.00%
               KERCKHOFF
               JOHN E HALL        [REDACTED]            COMMON      < 1.00%
               JOHN O'DOWD        [REDACTED]            COMMON      < 1.00%
               JOHN P COLMAN
               & LINDA L          [REDACTED]            COMMON      < 1.00%
               COLMAN JT TEN
               JOHN ROONEY        [REDACTED]            COMMON      < 1.00%
               JOHN ROONEY        [REDACTED]            COMMON      < 1.00%
               JOHN WEBB          [REDACTED]            COMMON      < 1.00%
               JOHN WEBB &
                                  [REDACTED]            COMMON      < 1.00%
               KAREN WEBB
               JOSEPH L
                                  [REDACTED]            COMMON      < 1.00%
               HERBSTER JR
               JUAN FORTEZA       [REDACTED]            COMMON      < 1.00%
               JUANITA H
               HINSHAW & TED
               O'NELL HARRISON
               TTEES HINSHAW-     [REDACTED]            COMMON      < 1.00%
               HARRISON JT REV
               LIVING TR UA DTD
               5 28 93
               KAREN A LYNCH
               TTEE
               KAREN A LYNCH      [REDACTED]            COMMON      < 1.00%
               REVOCABLE
               TRUST
               KATHLEEN
                                  [REDACTED]            COMMON      < 1.00%
               GARCIA COBB
               KATHRYN
                                  [REDACTED]            COMMON      < 1.00%
               COTTRELL
               KEVIN COCHETTI     [REDACTED]            COMMON      < 1.00%
GASTAR         KEVIN SUDDARTH     [REDACTED]            COMMON      < 1.00%
EXPLORATION
               LARRY
INC.                              [REDACTED]            COMMON      < 1.00%
               STEINBRUECK
               LAWRENCE ENG
               & LORRAINE WAN     [REDACTED]            COMMON      < 1.00%
               ENG
               LEE FAMILY
               LIMITED
                                  [REDACTED]            COMMON      < 1.00%
               PARTNERSHIP
               C/O PAUL LEE
               LEN MCKEARY        [REDACTED]            COMMON      < 1.00%
               LINDA F DOLLAR     [REDACTED]            COMMON      < 1.00%
               LINDA SOSNA        [REDACTED]            COMMON      < 1.00%
               LIZA CHEUVRONT     [REDACTED]            COMMON      < 1.00%
               LOREN SCOTT
                                  [REDACTED]            COMMON      < 1.00%
               TRUBY
               LORETTA
                                  [REDACTED]            COMMON      < 1.00%
               FORTEZA
               LOUIS J CROSSIN
                                  [REDACTED]            COMMON      < 1.00%
               JR
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    Debtor       Equity Holders     Address of Equity    Type of   Percentage
                                         Holder          Equity     of Equity
                                                        Security      Held
               LUDVIK PETRIK      [REDACTED]            COMMON      < 1.00%
               LYNN BROYLES       [REDACTED]            COMMON      < 1.00%
               MARGARET J HAL     [REDACTED]            COMMON      < 1.00%
               MARGARET J
                                  [REDACTED]            COMMON      < 1.00%
               JOHNSON
               MARK OLSON         [REDACTED]            COMMON      < 1.00%
               MELLON             22 HART HILLS ROAD
               ENTERPRISES        BARRINGTON, IL        COMMON      < 1.00%
               LLC                60010-4023
               MERILYN
               WESSENDORF         [REDACTED]            COMMON      < 1.00%
               TRUST
               MICHAEL
                                  [REDACTED]            COMMON      < 1.00%
               BRENNAN
               MICHAEL
               SVEJKOSKY &
                                  [REDACTED]            COMMON      < 1.00%
               JANET
               SVEJKOSKY
               MICHELLE RAMBO     [REDACTED]            COMMON      < 1.00%
               MITCHELL
                                  [REDACTED]            COMMON      < 1.00%
               LOBROVICH
               MITCHELL
                                  [REDACTED]            COMMON      < 1.00%
               LOBROVICH
               NATHAN BROWN       [REDACTED]            COMMON      < 1.00%
               NATHAN BROWN       [REDACTED]            COMMON      < 1.00%
               NATHAN W
                                  [REDACTED]            COMMON      < 1.00%
               WALTON
GASTAR         NICHOLAS SHAW      [REDACTED]            COMMON      < 1.00%
EXPLORATION                       PO BOX 14670
               NOTWEN
INC.                              JACKSON, WY 83002-    COMMON      < 1.00%
               CORPORATION
                                  4670
               ODED AZARIYA       [REDACTED]            COMMON      < 1.00%
               OSBORNE SHELL
               BELSBY
               PERSONAL REP       [REDACTED]            COMMON      < 1.00%
               ESTATE OF OSA
               BELSBY
               PAUL F ETHIER      [REDACTED]            COMMON      < 1.00%
               R SCOTT DELUISE
                                  [REDACTED]            COMMON      < 1.00%
               & JAN F DELUISE
               RANDALL SLEETH     [REDACTED]            COMMON      < 1.00%
               RICHARD H
                                  [REDACTED]            COMMON      < 1.00%
               YOUNGBLOOD III
               RICHARD P
               FITZGEORGE-        [REDACTED]            COMMON      < 1.00%
               PARKER
               RICKY JOHNSON      [REDACTED]            COMMON      < 1.00%
               RICKY JOHNSON      [REDACTED]            COMMON      < 1.00%
               RICKY JOHNSON      [REDACTED]            COMMON      < 1.00%
               RICKY JOHNSON      [REDACTED]            COMMON      < 1.00%
               RICKY JOHNSON      [REDACTED]            COMMON      < 1.00%
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    Debtor       Equity Holders     Address of Equity    Type of   Percentage
                                         Holder          Equity     of Equity
                                                        Security      Held
               RICKY JOHNSON      [REDACTED]            COMMON      < 1.00%
               RITA DANIELS
                                  [REDACTED]            COMMON      < 1.00%
               BRENT
               ROBERT L
                                  [REDACTED]            COMMON      < 1.00%
               HARRIS
               ROBERT PENNER      [REDACTED]            COMMON      < 1.00%
               SCOTT HAMMEL       [REDACTED]            COMMON      < 1.00%
               STEPHEN NAPIER     [REDACTED]            COMMON      < 1.00%
               STEVE WEIGLE       [REDACTED]            COMMON      < 1.00%
               STEVEN P BELAU
               CUST
               ALEC S BELAU
                                  [REDACTED]            COMMON      < 1.00%
               UNDER THE MN
               UNIF TRAN MIN
               ACT
               TAMARA
                                  [REDACTED]            COMMON      < 1.00%
               SLAUGHTER
               THEODORE S
                                  [REDACTED]            COMMON      < 1.00%
               RITTENBERG
GASTAR
               THOMAS S
EXPLORATION                       [REDACTED]            COMMON      < 1.00%
               BERKLEY
INC.
               THOMAS SINAK       [REDACTED]            COMMON      < 1.00%
               TRACY HAYES        [REDACTED]            COMMON      < 1.00%
               WAJIH ELKISWANI    [REDACTED]            COMMON      < 1.00%
               WILLIAM BERRY &
               BARBARA BERRY      [REDACTED]            COMMON      < 1.00%
               JTWROS
               WILLIAM
                                  [REDACTED]            COMMON      < 1.00%
               BLAGRAVE
               WILLIAM G VAN
               RHEIN &
                                  [REDACTED]            COMMON      < 1.00%
               CAROLYN M VAN
               RHEIN
               WYOMING STATE
               TREASURER          200 WEST 24TH ST
                                                        COMMON      < 1.00%
               UNCLAIMED          CHEYENNE WY 82002
               PROPERTY
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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                      )
 In re:                                               )    Chapter 11
                                                      )
 GASTAR EXPLORATION INC.,                             )    Case No. 18-______(___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                     Shareholder                            Approximate Percentage of Shares Held

     Funds Affiliated with Ares Management LLC                                  25.90%
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    Fill in this information to identify the case and this filing:

   Debtor Name          Gastar Exploration Inc.

   United States Bankruptcy Court for the:                Southern District of Texas
                                                                                                  (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



            Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration            List of Equity Security Holders and Corporate Ownership
            Statement, Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11


    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                    /s/ Michael A. Gerlich
                                       10/31/2018
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 Michael A. Gerlich
                                                                                 Printed name
                                                                                 Authorized Signatory
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
